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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------x
UNITED STATES OF AMERICA,                                                20 Cr. 412 (AT}



                                                               NOTICE OF MOTION
                - against-

BRIAN KOLF AGE, et al.,

                             Defendants.
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SIRS:

        PLEASE TAKE NOTICE TBAT upon the attached affidavit of Robert J. Costello, sworn

to on March 18, 2021, and upon the Full and Unconditional Pardon granted by then President

Donald J. Trump to Stephen Bannon on January 19, 2021, and upon the scheduling order provided

·by this Court,Defendant Stephen.Bannon will, on March 19, 2021, move this Court for an Order

dismissing the above captioned indictment as to Stephen Bannon, pursuant to the pardon.

Dated: New York, New York
March 18, 2021

                                    Respectfully submitted,

                                    DAVIDOFF HUTCHER & CITRON LLP



                                               ert.
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         Case 1:20-cr-00412-AT Document 101 Filed 03/18/21 Page 2 of 2




                             Attorneys for Defendant Stephen Bannon




TO:
A.US.A Nicolas Roos
A.U.S.A. Alison Moe
A.US.A. Robert Sobelman
